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                                                                        FILED: July 11, 2023


                           UNITED STATES COURT OF APPEALS
                               FOR THE FOURTH CIRCUIT


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                                        No. 23-1384
                                       (CP16-10-000)
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        APPALACHIAN VOICES; WILD VIRGINIA; WEST VIRGINIA RIVERS
        COALITION; PRESERVE GILES COUNTY; PRESERVE BENT MOUNTAIN,
        a chapter of Blue Ridge Environmental Defense League; WEST VIRGINIA
        HIGHLANDS CONSERVANCY; INDIAN CREEK WATERSHED
        ASSOCIATION; SIERRA CLUB; CHESAPEAKE CLIMATE ACTION
        NETWORK; CENTER FOR BIOLOGICAL DIVERSITY

                    Petitioners

        v.

        UNITED STATES DEPARTMENT OF THE INTERIOR; DEB HAALAND, in
        her official capacity as Secretary of the U.S. Department of the Interior; UNITED
        STATES FISH AND WILDLIFE SERVICE, an agency of the U.S. Department of
        Interior; CINDY SCHULZ, in her official capacity as Field Supervisor, Virginia
        Ecological Services, Responsible Official; MARTHA WILLIAMS, in her official
        capacity as Director of the U.S. Fish and Wildlife Service

                    Respondents

        MOUNTAIN VALLEY PIPELINE, LLC

                    Intervenor
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                                          ORDER
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              Upon consideration of petitioners’ motion for stay pending appeal, the court

        grants the motion and stays respondent United States Fish and Wildlife Service’s

        Biological Opinion and Incidental Take Statement during the pendency of this

        petition for review.

              Entered at the direction of Judge Gregory with the concurrence of Judge Wynn

        and Judge Thacker.

                                             For the Court

                                             /s/ Patricia S. Connor, Clerk
